Case 8:21-cv-01245-CJC-ADS Document 21 Filed 11/17/21 Page1lofi1 Page ID#:84

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6

CIVIL MINUTES — GENERAL

Case No. 8:21-cv-01245-CJC-ADS Date November 17, 2021

 

 

Title Quy Truong v. Jenkin H.N. Dunn et al.

 

PRESENT:

HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

Rolls Royce Paschal Not Reported
Deputy Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANT:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE OF
SETTLEMENT

The Court, having been notified by a Notice of Settlement [20] that the case settled
hereby orders this action dismissed without prejudice. The Court hereby orders all proceedings
in the case vacated and taken off calendar.

The Court retains jurisdiction for ninety (90) days to vacate this order and to reopen the
action upon showing of good cause that the settlement has not been completed.

 

Initials of Deputy Clerk = rrp

 

cc:

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 1 of 1
